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                               UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                       PORTLAND DIVISION


    UNlTED STATES OF AMERICA                             3:19-cr-     00 /~3-mO
                  v.                                     INDICTMENT

    LORIE. DEVENY,                                       18 u.s.c. 1341; 18 u.s.c. § 1344;
                                                         18 U.S.C. § 1028A; 18 U.S.C. § 1957;
                  Defendant.                             18 U.S.C. § 981(a)(l)(C); 18 U.S.C. §
                                                         982(a)(l); 26 U.S.C. § 7206(1); 26 U.S.C. §
                                                         7203; 28 U.S.C. § 2461(c)

                                                         Forfeiture Allegation

                                                         UNDERSEAL


                                  THE GRAND JURY CHARGES:

                                  COUNT1THROUGHCOUNT6
                                         (Mail Fraud)
                                      (18 u.s.c. § 1341)

    A.     INTRODUCTORY ALLEGATIONS

           1.     At all relevant times:

                  a.      Defendant LORI E. DEVENY (DEVENY) was a resident of Multnomah

    County, within the District of Oregon

                  b.      From in or about September 1989 to in or about May 2018, defendant

    DEVENY was an attorney licensed to practice law in the State of Oregon. Defendant DEVENY

    was a sole practitioner with an office located in Portland, Oregon. DEVENY provided legal

    services to clients in exchange for attorney's fees. DEVENY specialized in representing clients

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who had suffered physical injuries as the result of automobile accidents and other traumatizing

events. Over the course of her legal career, defendant DEVENY represented hundreds of

clients.

                 c.     Defendant DEVENY was a signatory on and exercised control over the

following bank accounts:

                        1.     Wells Fargo Bank account number XX:XXXX9911 , Interest on

Lawyers Trust Account (IOLTA) of Lori E. Deveny, Attorney at Law, Basic Business Checking

account;

                        11.    Wells Fargo Bank account number XXXXXX9853 , Lori E.

Deveny, Attorney at Law, Business Checking account;

                        111.   Wells Fargo Bank account number XX:XXXX0232, Lori E.

Deveny and Robert Deveny Personal Checking account.

           2.    As a member of the Oregon State Bar, defendant DEVENY was obligated to

comply with the Oregon Rules of Professional Conduct. Under these rules, defendant DEVENY

was required, among other things, to keep her clients reasonably informed of the status of their

matters; promptly notify clients of the receipt of any funds in which the clients have an interest;

and promptly pay or deliver to her clients, any such funds that the clients are entitled to receive.

           3.    On or about May 24, 2018, DEVENY signed a Form B resignation affidavit and

submitted it to the Oregon State Bar. The Chief Justice of the Oregon Supreme Court accepted

DEVENY'S resignation on or about July 26, 2018.

           4.    Client 1 was an individual who resided in the State of Washington. Beginning as

early as 2016 and continuing until at least May 2018, Client 1 had a formal attorney-client


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relationship with defendant DEVENY. Specifically, defendant DEVENY agreed to represent

Client 1 in relation to an insurance claim for injuries Client 1 suffered as a result of an

automobile accident.

       5.      Client 2 was an individual who resided within the District of Oregon and

elsewhere. Client 2 had a formal attorney-client relationship with defendant DEVENY in or

about 1996, when DEVENY successfully handled a workmen's compensation claim for Client 2.

Sometime prior to September 2017, Client 2 wanted to make a claim against a company that

manufactured medical devices. When Client 2 went to defendant DEVENY to have her handle

this claim, DEVENY referred the case to another attorney, and Client 2 hired that attorney.

Defendant DEVENY received a referral fee from the attorney who represented Client 2 in the

case against the medical device manufacturer.

B.     THE SCHEME TO DEFRAUD

       6.      Beginning at least as early as in or about April 2011 , and continuing through the

date of this Indictment, within the District of Oregon_and elsewhere, defendant DEVENY, and

others known and unknown to the grand jury, did knowingly and with intent to defraud, devised

and intended to devise a material scheme and artifice to defraud clients of her law firm, and to

obtain money and property of those clients by means of materially false and fraudulent pretenses,

representations, and promises, and through the omission of material facts that defendant

DEVENY had a duty to disclose.

       7.      DEVENY defrauded many of her clients by systematically stealing funds from

her IOLTA account, Wells Fargo Bank account number XXXXXX:9911, that she held in trust for

her clients. The source of the stolen funds was insurance proceeds that were due and payable to


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DEVENY'S clients. A variety of insurance companies had made payments to DEVENY'S

clients as the result of filed claims that DEVENY sent either through the mail or via interstate

wire. DEVENY forged the names of many of her clients on settlement documents she sent to

the insurance companies. These insurance companies used the U.S. Postal Service or private

commercial carriers to send the insurance proceeds checks to DEVENY. Once DEVENY

received the checks, she deposited the insurance proceeds meant for her clients to her IOLTA

account, Wells Fargo Bank account number XXXXXX:9911. In order to deposit many of the

checks, DEVENY forged the names of her clients on the endorsement portion of the checks.

DEVENY then fraudulently converted to her own use, more than her agreed-upon one~third

share of attorney fees from the insurance proceeds. Defendant DEVENY did so by making

unauthorized transfers of funds from the IOL TA account to her business checking account, her

personal account, and her husband's business account, and by making large cash withdrawals

from the IOLTA account. Many ofDEVENY'S clients were unaware that the defendant had

settled their claims with the insurance companies. When clients complained about the length of

time it was taking for claims to settle, DEVENY sent them lulling emails or text messages,

making a variety of excuses, including: claiming that the insurance companies typically take a

long time to settle claims; falsely claiming that she was following up with insurance companies

about their delays in making settlement payments; falsely claiming that the clients' settlements

had been delayed by medical liens; claiming that she was ill; claiming that other family members

were ill; and other excuses. Many of DEVENY'S clients never received any of the insurance

proceeds owed to them.




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        8.     Defendant DEVENY used the funds she embezzled from her clients to pay for the

following: personal credit card and loan payments; numerous big game hunting trips to Africa;

taxidermy expenses for big game hunting trophies; numerous other vacation trips; her husband ' s

photography business; remodeling her home; expensive cigars; and other expenses associated

with her lavish lifestyle. Defendant DEVENY also used a portion of some clients' stolen funds

to pay other clients who had not received their insurance settlement proceeds.

C.      THE MANNER AND MEANS OF THE SCHEME TO DEFRAUD

        9.     The material scheme to defraud operated, in substance, in the following manner:

               a.      It was part of the material scheme to defraud that Defendant DEVENY

had many of her clients sign retainer agreements wherein DEVENY would earn one-third of any

settlement she negotiated on behalf of the clients.

               b.      Defendant DEVENY would negotiate a settlement with various insurance

companies on behalf of various clients that would require the payment of insurance proceeds to

the client.

               c.      Many times, defendant DEVENY would misrepresent, conceal, and

falsely describe to the client the true terms of the settlement and/or the disposition the settlement

proceeds.

               d.      Other times, defendant DEVENY would fail to inform the client that a

settlement with the insurance companies occurred at all.

               e.      Many times, defendant DEVENY would forge the signatures of clients on

settlement documents that she sent to the insurance companies, either through the U.S. Postal

Service or via interstate wires.


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                f.      Defendant DEVENY would forge the signatures of clients on some

insurance settlement checks that were meant for her clients.

                g.      Defendant DEVENY would cause the settlement proceeds to be deposited

in or transferred to her IOLTA account, Wells Fargo Bank account number XXXXXX9911 , that

DEVENY controlled.

                h.      Defendant DEVENY would fail to inform clients that she had reached

settlements with insurance companies, and that the insurance companies had sent settlement

funds to DEVENY on behalf of the clients.

                1.      Other times, defendant DEVENY informed clients that the insurance

companies sent settlement proceeds, but falsely told clients that there were various impediments

to her distributing the funds to the clients.

               J.       Defendant DEVENY would embezzle, misappropriate, and convert to her

own use, insurance settlement proceeds to which she was not entitled.

                k.      Many times, defendant DEVENY would lull clients to prevent them from

discovering her fraudulent scheme by, among other things, falsely denying that settlement

proceeds had been paid; claiming that insurance companies often delayed settlements for long

periods of time; falsely claiming that she was following up with insurance companies about their

delays in making settlement payments; sending funds to clients under the false pretense that such

funds were "advances" on the purportedly yet-to-be received settlement proceeds; falsely

claiming that there were medical liens or other "holds" on settlement proceeds; and falsely

claiming that payment of the settlement proceeds to the client had been delayed for legitimate




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reasons, and that distribution of the funds would occur at some time in the future; claiming that

she was ill; and claiming that other family members were ill.

D.     THE USE OF THE MAIL

        10.    On or about the dates set forth below, in the District of Oregon and elsewhere,

defendant DEVENY, and others known and unknown to the Grand Jury, for the purpose of

executing the aforementioned material scheme and artifice to defraud, and attempting to do so,

did knowingly cause to be sent and delivered by the United States Postal Service or by private or

commercial interstate carrier, according to the directions thereon, the items listed below, each of

which constitutes a representative sample of the use of the mails and private or commercial

interstate carriers, in furtherance of the material scheme and artifice to defraud, and each such

use of the mails or private or commercial interstate carriers being a separate count of this

Indictment:

     COUNT                   DATE                               ITEMS MAILED

         1                 06/25/2014          Farmer' s Insurance Company check number
                                               xxxxxx8602 for $150,000.
         2                 10/02/2015          KP Financial Services OPS check number
                                               xxxxxxl 128 for $100,000.
         3                 12/23/2015          EMC Insurance check number xxxx4532 for
                                               $90,000.
         4                 08/15/2016          Zurich American Insurance Company check
                                               number xxxxxx5060 for $92,500.
         5                 05/23/2017          Safeco Insurance, a Liberty Mutual Company,
                                               check number xxxx1487 for $100,000.
         6                 06/04/2018          Country Financial check number xxx0710 for
                                               $20,000.


       In violation of Title 18, United States Code, Section 1341.




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                              COUNT 7 THROUGH COUNT 12
                                      (Wire Fraud)
                                   (18 u.s.c. § 1343)

        1.     The Grand Jury re-alleges and incorporates by reference herein, each and every

allegation contained in all paragraphs of Count 1 through Count 6 of this Indictment.

       2.      Beginning at least as early as in or about April 2011 , and continuing through the

date of this Indictment, in the District of Oregon and elsewhere, defendant LORIE. DEVENY

(DEVENY), together with persons known and unknown to the Grand Jury, did knowingly and

intentionally devise and intend to devise a material scheme and artifice to defraud clients of her

law firm, and to obtain money and property of those clients by means of materially false and

fraudulent pretenses, representations, and promises, and through the omission of material facts

that defendant DEVENY had a duty to disclose.

       3.      The material scheme and artifice to defraud is more particularly set forth in

paragraphs 1 through 10 of Count 1 through Count 6 of this Indictment, and are incorporated

herein by this reference.

       4.       On or about the dates set forth below, in the District of Oregon and elsewhere,

defendant LORIE. DEVENY, together with others known and unknown to the Grand Jury, for

the purpose of executing the aforementioned material scheme and artifice to defraud, and

attempting to do so, did knowingly transmit and cause to be transmitted in interstate commerce

by means of wire communications, signals, and sounds, that is, facsimiles of documents; emails;

text messages; and wire transfers of money across state lines, as set forth below, each such use of

the wires being a separate count of this Indictment:




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 COUNT            DATE        ITEM WIRED               FROM                          TO

     7          10/13/2015    Currency in the    Wells Fargo Bank        Jacques Senekal, African
                              amount of          account number          Maximum Safaris, South
                              $13,897            xxxxxx9853              Africa
     8          11 /16/2016   Trust              Facsimile number        Facsimile number (877) 217-
                              Agreement and      (503) 225-0445          1389
                              Release in Full
                              Form
     9          03/20/2017    Letter And         Facsimile number        Facsimile number (866) 568-
                              Release In Full    (503) 256-8675          2132
                              Of All Claims
     10         06/28/2017    Letter and         Facsimile number        Facsimile number (888) 268-
                              Release in Full    (503) 225-0445          8840
                              of All Claims
                              Form
     11         05/31 /2018   Letter and         Facsimile number        Facsimile number (866) 893-
                              Release In Full    (503) 225-0445          4517
                              Of All Claims
                              Form
     12         10/30/2018    Text messages      Cell phone              Cell phone number (360)
                                                 number (503)            787-1037
                                                 256-7380


          In violation of Title 18, United States Code, Section 1343 .

                                            COUNT 13
                                     (Aggravated Identity Theft)
                                        (18 U.S.C. § 1028A)

          1.     The Grand Jury re-alleges and incorporates by reference herein, each and every

allegation contained in all paragraphs of Count 1 through Count 12 of this Indictment.

          2.     On or about May 31, 2018, in the District of Oregon and elsewhere, defendant

LORIE. DEVENY (DEVENY) did knowingly possess and use, without lawful authority, a

means of identification of another person, that is, the name and signature of Client 1, during and

in relation to a felony violation of Title 18, United States Code, Section 1343, Wire Fraud,



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knowing that the means of identification belonged to one of DEVENY'S clients, another actual

person.

          In violation of Title 18, United States Code, Section l 028A.

                                              COUNT 14
                                            (Bank Fraud)
                                          (18 u.s.c. § 1344)

          1.     The Grand Jury re-alleges and incorporates by reference herein, each and every

allegation contained in all paragraphs of Count 1 through Count 13 of this Indictment.

          2.     On or about September 19, 2017, in the District of Oregon and elsewhere,

defendant LORIE. DEVENY (DEVENY) did knowingly execute and attempt to execute a

material scheme or artifice to defraud Wells Fargo Bank, which at the time was a federally

insured financial institution, and to obtain money and property owned by and under the control

of Wells Fargo Bank, by materially false and fraudulent pretenses, representations and promises,

to wit: depositing to her IOLTA account, Wells Fargo Bank account number XXXXXX:9911,

without lawful authority, a stolen check in the amount of $55,629.01 , written on another Wells

Fargo Bank account, number X:X:X:X:XX:7709, and made payable to one ofDEVENY'S clients.

     In violation of Title 18, United States Code, Section 1344.

                                           COUNT 15
                                    (Aggravated Identity Theft)
                                       (18 U.S.C. § 1028A)

          1.     The Grand Jury re-alleges arid incorporates by reference herein, each and every

allegation contained in all paragraphs of Count 1 through Count 14 of this Indictment.

          2.     On or about September 19, 2017, in the District of Oregon and elsewhere,

defendant LORI E. DEVENY (DEVENY) did knowingly possess and use, without lawful


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authority, a means of identification of another person, that is, the name and signature of Client 2,

during and in relation to a felony violation of Title 18, United States Code, Section 1344, to wit:

Bank Fraud, knowing that the means of identification belonged to one of DEVENY'S clients,

another actual person.

     In violation of Title 18, United States Code, Section 1028A.

                                         COUNT 16
            (Engaging in Monetary Transactions with Criminally Derived Property)
                                     (18 u.s.c. § 1957)

       1.       The Grand Jury re-alleges and incorporates by reference herein, each and every

allegation contained in all paragraphs of Count 1 through Count 15 of this Indictment.

       2.       On or about September 20, 2017, in the District of Oregon and elsewhere,

defendant LORI E. DEVENY did knowingly engage and attempt to engage in a monetary

transaction by, through or to a financial institution affecting interstate or foreign commerce,

in criminally derived property of a value greater than $10,000, that is making a $26,000

transfer through the Automated Clearing House (ACH) from Wells Fargo Bank account

number X9853 to American Express for payment on account number X7003 , such property

having been derived from a specified unlawful activity, that is, Bank Fraud.

       In violation of Title 18, United States Code, Section 1957.

                                        COUNT 17
            (Engaging in Monetary Transactions with Criminally Derived Property)
                                     (18 u.s.c. § 1957)

       1.       The Grand Jury re-alleges and incorporates by reference herein, each and every

allegation contained in all paragraphs of Count 1 through Count 16 of this Indictment.




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       2.      On or about September 22, 2017, in the District of Oregon and elsewhere,

defendant LORIE. DEVENY did knowingly engage and attempt to engage in a monetary

transaction by, through or to a financial institution affecting interstate or foreign commerce,

in criminally derived property of a value greater than $10,000, that is making a $20,976.36

transfer through the Automated Clearing House (ACH) from Wells Fargo Bank account

number X9853 to Alliance Legal Solutions for payment on a loan, such property having

been derived from a specified unlawful activity, that is, Bank Fraud.

       In violation of Title 18, United States Codes, Section 1957.

                                       COUNT 18
               (Making and Subscribing a False Federal Income Tax Return)
                                  (26 u.s.c. § 7206(1))

       1.      The Grand Jury re-alleges and incorporates by reference herein, each and every

allegation contained in each of the paragraphs of Count 1 through Count 17 of this Indictment.

       2.      On or about May 10, 2013, in the District of Oregon, defendant LORIE.

DEVENY (DEVENY) did willfully make and subscribe a joint U.S. Individual Income Tax

Return, Form 1040, for the calendar year 2011, which was verified by a written declaration that

it was made under the penalties of perjury, and which she did not believe to be true and correct

as to every material matter. That U.S . Individual Income Tax Return, Form 1040, for calendar

year 2011 , which was prepared and signed in the District of Oregon and was filed with the

Internal Revenue Service, stated that DEVENY'S gross receipts, Line Id of Form Schedule C,

was $244,098, whereas, as she then and there well knew and believed that said item was false .

       In violation of Title 26, United States Code, Section 7206(1).




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                                       COUNT 19
               (Making and Subscribing a False Federal Income Tax Return)
                                  (26 u.s.c. § 7206(1))

       1.      The Grand Jury re-alleges and incorporates by reference herein, each and every

allegation contained in all paragraphs of Count 1 through Count 18 of this Indictment.

       2.      On or about May 10, 2013, in the District of Oregon, defendant LORIE.

DEVENY (DEVENY) did willfully make and subscribe a joint U.S. Individual Income Tax

Return, Form 1040, for the calendar year 2012, which was verified by a written declaration that

it was made under the penalties of perjury, and which she did not believe to be true and correct

as to every material matter. That U.S. Individual Income Tax Return, Form 1040, for calendar

year 2012, which was prepared and signed in the District of Oregon and was filed with the

Internal Revenue Service, stated that DEVENY'S gross receipts, Line 1 of Form Schedule C,

was $227,772, whereas, as she then and there well knew and bel.ieved that said item was false.

       In violation of Title 26, United States Code, Section 7206(1 ).

                                           COUNT20 .
                        (Failure to File a Federal Income Tax Return)
                                       (26 u.s.c. § 7203)

       1.      The Grand Jury re-alleges and incorporates by reference herein, each and every

allegation contained in all paragraphs of Count 1 through Count 19 of this Indictment.

       2.      During the calendar year 2013 , defendant LORIE. DEVENY (DEVENY), who

was a resident of the District of Oregon had and received gross income totaling in excess of

$556,000. By reason of that gross income, she was required by law, following the close of the

calendar year 2013, and on or before April 15, 2014, to make an income tax return to the Internal

Revenue Service Center, at Portland, Oregon, to a person assigned to receive returns at the local


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office of the Internal Revenue Service at Portland, Oregon, or to another Internal Revenue

Service office permitted by the Commissioner of Internal Revenue, stating specifically the items

of her gross income and any deductions and credits to which she was entitled. Well knowing and

believing all the foregoing, defendant DEVENY did willfully fail, on or about April 15, 2014, in

the District of Oregon and elsewhere, to make an income tax return.

       In violation of Title 26, United States Code, Section 7203.

                                             COUNT21
                          (Failure to File a Federal Income Tax Return)
                                         (26 u.s.c. § 7203)

       1.        The Grand Jury re-alleges and incorporates by reference herein, each and every

allegation contained in all paragraphs of Count 1 through Count 20 of this Indictment.

       2.        . During the calendar year 2014, defendant LORIE. DEVENY (DEVENY), who

was a resident of the District of Oregon, had and received gross income totaling in excess of
             I


$496,000. By reason of that gross income, she was required by law, following the close of the

calendar year 2014, and on or before April 15, 2015 , to make an income tax return to the Internal

Revenue Service Center, at Portland, Oregon, to a person assigned to receive returns at the local

office of the Internal Revenue Service at Portland, Oregon, or to another Internal Revenue

Service office permitted by the Commissioner of Internal Revenue, stating specifically the items

of her gross income and any deductions and credits to which she was entitled. Well knowing and

believing all the foregoing, defendant DEVENY did willfully fail, on or about April 15, 2015 , in

the District of Oregon and elsewhere, to make an income tax return.

       In violation of Title 26, United States Code; Section 7203 .




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                                           COUNT22
                        (Failure to File a Federal Income Tax Return)
                                       (26 u.s.c. § 7203)

       1.      The Grand Jury re-alleges and incorporates by reference herein, each and every

allegation contained in all paragraphs of Count 1 through Count 21 of this Indictment.

       2.      During the calendar year 2015, defendant LORIE. DEVENY (DEVENY), who

was a resident of the District of Oregon, had and received gross income totaling in excess of

$523 ,000. By reason of that gross income, she was required by law, following the close of the

calendar year 2015, and on or before April 18, 2016, to make an income tax return to the Internal

Revenue Service Center, at Portland, Oregon, to a person assigned to receive returns at the local

office of the Internal Revenue Service at Portland, Oregon, or to another Internal Revenue

Service office permitted by the Commissioner of Internal Revenue, stating specifically the items

of her gross income and any deductions and credits to which she was entitled. Well knowing and

believing all the foregoing, defendant DEVENY did willfully fail, on or about April 18, 2016, in

the District of Oregon and elsewhere, to make an income tax return.

       In violation of Title 26, United States Code, Section 7203.

                                           COUNT23
                        (Failure to File a Federal Income Tax Return)
                                       (26 u.s.c. § 7203)

       1.      The Grand Jury re-alleges and incorporates by reference herein, each and every

allegation contained in all paragraphs of Count 1 through Count 22 of this Indictment.

       2.      During the calendar year 2016, defendant LORIE. DEVENY (DEVENY), who

was a resident of the District of Oregon, had and received gross income totaling in excess of




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$458,000. By reason of that gross income, she was required by law, following the close of the

calendar year 2016, and on or before April 18, 2017, to make an income tax return to the Internal

Revenue Service Center, at Portland, Oregon, to a person assigned to receive returns at the local

office of the Internal Revenue Service at Portland, Oregon, or to another Internal Revenue

Service office permitted by the Commissioner of Internal Revenue, stating specifically the item.s

of her gross income and any deductions and credits to which she was entitled. Well knowing and

believing all the foregoing, defendant DEVENY did willfully fail, on or about April 18, 2017, in

the District of Oregon and elsewhere, to make an income tax return.

       In violation of Title 26, United States Code, Section 7203 .

                                           COUNT24
                        (Failure to File a Federal Income Tax Return)
                                       (26 u.s.c. § 7203)

       1.      The Grand Jury re-alleges and incorporates by reference herein, each and every

allegation contained in all paragraphs of Count 1 through Count 23 of this Indictment.

       2.      During the calendar year 2017, defendant LORIE. DEVENY (DEVENY), who

was a resident of the District of Oregon, had and received gross income totaling in excess of

$575,000. By reason of that gross income, she was required by law, following the close of the

calendar year 2017, and on or before April 17, 2018, to make an income tax return to the Internal

Revenue Service Center, at Portland, Oregon, to a person assigned to receive returns at the local

office of the Internal Revenue Service at Portland, Oregon, or to another Internal Revenue

Service office permitted by the Commissioner of Internal Revenue, stating specifically the items

of her gross income and any deductions and credits to which she was entitled. Well knowing and




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believing all the foregoing, defendant DEVENY did willfully fail , on or about April 17, 2018, in

the District of Oregon and elsewhere, to make an income tax return.

        In violation of Title 26, United States Code, Section 7203 .

                            FIRST FORFEITURE ALLEGATION
                       (18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c))

        1.     Upon conviction of one or more of the offenses alleged in Count 1 through Count

12, and in Count 14 this Indictment, defendant LORIE. DEVENY shall forfeit to the United

States of America pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S .C. § 2461(c) any property

constituting or derived from proceeds obtained directly or indirectly as a result of said violations,

including but not limited to, a sum of money representing the amount of proceeds obtained as a

result of the offenses alleged in Count 1 through Count 6, Mail Fraud, in violation of 18 U.S.C. §

1341; Count 7 through Count 12, Wire Fraud, in violation of 18 U.S.C. § 1343 ; and Count 14,

Bank Fraud, in violation of 18 U.S.C. § 1344.

        2.     If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

        a.     cannot be located upon the exercise of due diligence;

        b.     has been transferred or sold to, or deposited with, a third party;

        c.     has been placed beyond the jurisdiction of the court;

        d.     has been substantially diminished in value; or

        e.     has been commingled with other property which cannot be divided without

difficulty;




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the United States of America shall be entitled to forfeiture of substitute property pursuant to 21

U.S.C. § 853(p) as incorporated by 18 U.S.C. § 982(b).

                             SECOND FORFEITURE ALLEGATION
                                   (18 U.S.C. § 982(a)(l))

        1.     Upon conviction of one or more of the offenses alleged in Count 16 and Count 17

ofthis Indictment, defendant LORI E. DEVENY shall forfeit to the United States of America

pursuant to 18 U.S.C. § 982(a)(l), any and all property, real or personal, involved in the money

laundering offenses and all property traceable to such property, including but not limited to a

money judgment for a sum of money equal to the amount of property involved in those offenses.

        2.     If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:

        a.     cannot be located upon the exercise of due diligence;

        b.     has been transferred or sold to, or deposited with, a third party;

        c.     has been placed beyond the.jurisdiction of the court;

        d.     has been substantially diminished in value; or

        e.     has been commingled with other property which cannot be divided without

difficulty;

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III




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    the United States of America shall be entitled to forfeiture of substitute property pursuant to 21

    U.S .C. § 853(p) as incorporated by 18 U.S.C. § 982(b).

    Dated: May _'J_, 2019                                 A TRUE BILL.




                                                          OFFICIATING FOREPERSON

    Presented by:

    BILLY J. WILLIAMS
    United States Attorney



    CLAIRE M. FAY, DCB #358218
    Assistant United States Attorney




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